  Case 23-13432       Doc 25    Filed 01/10/24 Entered 01/10/24 16:20:21           Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION
In Re:                                       )
                                             )      Case No. 23-13432
Marcus Johnson                               )      Chapter 7
                                             )      Judge Janet S. Baer
Debtor.                                      )

                                   NOTICE OF OBJECTION
TO:      Patrick S Layng, USTPRegion11.ES.ECF@usdoj.gov
         Frank J Kokoszka, trustee@k-jlaw.com

       Debtor objects to the Trustee’s Motion to Dismiss filed as Docket Entry # 23 and
requests that the matter be called for hearing.

                                     Johnson Marcus, Debtor

                                      By: /s/ Vaughn A. White

Vaughn A. White ARDC # 6198291
VW LAW LLC
Attorney for Debtor
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vaughn@vaughnwhite.com

                               CERTIFICATE OF SERVICE

      I, Vaughn A. White, an attorney, certify that I served a copy of this notice of objection by
Email Delivery through ECF to each entity shown above at the address shown and by the
method indicated on January 10, 2024.

                                                            /s/ Vaughn A. White
                                                            Vaughn A. White
